Subject:    Re: Andrews v. Tri Star Discovery
Date:       Wednesday, February 9, 2022 at 1:26:05 PM Central Standard Time
From:       Daniel Arciniegas
To:         roland@mumfordlaw.net, Betsy Hart
CC:         Tara Swaﬀord
A8achments: image001[4].jpg, image002[50].jpg, image003.jpg

Betsy:

Let’s move it to Friday at 1 if that works. I want to identify our disputes and see what we can narrow.

If there are any other non-confidential documents Defendant intends on producing please provide those.
Seems like there should be more that falls outside the scope of your proposed protective order. The
absence of documents I expected to produce by Defendant gives me concern of over-designation.

If you are asserting privilege for any documents related to RFI of non-essential WFH employees
people, or another category of information called for in our discovery requests, please provide that as
well.

I’m working on supplementing our discovery production, by the 10th as stated in your letter. I think we
will have some but not all and I want to discuss our respective positions on the 11th.




From: roland@mumfordlaw.net <roland@mumfordlaw.net>
Date: Tuesday, February 8, 2022 at 1:46 PM
To: Betsy Hart <betsy@swaﬀordlawﬁrm.com>, Daniel Arciniegas <daniel@aVorneydaniel.com>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Re: Andrews v. Tri Star Discovery

Works for me

Roland Mumford
AVorney At Law
242 W. Main Street
No. 223
Hendersonville, TN 37075
615.348.0070. Phone
615.246.4110 Facsimile
roland@mumfordlaw.net

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mumfordlaw.net

PERSONAL INJURY
EMPLOYMENT DISCRIMINATION
EDUCATION LAW
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to whom this e-mail message is addressed.




From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Tuesday, February 8, 2022 at 1:41 PM
To: roland@mumfordlaw.net <roland@mumfordlaw.net>, Daniel Arciniegas
<daniel@aVorneydaniel.com>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: RE: Andrews v. Tri Star Discovery

Sure. How about 2pm?

Betsy Hart
The Swafford Law Firm, PLLC
615-599-8406 office
502-741-6831 cell

From: roland@mumfordlaw.net <roland@mumfordlaw.net>
Sent: Tuesday, February 8, 2022 1:13 PM
To: Betsy Hart <betsy@swaﬀordlawﬁrm.com>; Daniel Arciniegas <daniel@aVorneydaniel.com>
Cc: Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Re: Andrews v. Tri Star Discovery

Can we schedule call in the ajernoon. I have a court hearing in the morning


Roland Mumford
AVorney At Law

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From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Tuesday, February 8, 2022 at 1:11 PM
To: Daniel Arciniegas <daniel@aVorneydaniel.com>
Cc: roland@mumfordlaw.net <roland@mumfordlaw.net>, Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: RE: Andrews v. Tri Star Discovery

Yes – we are here tomorrow.

Betsy Hart
The Swafford Law Firm, PLLC
615-599-8406 office
502-741-6831 cell

From: Daniel Arciniegas <daniel@aVorneydaniel.com>
Sent: Tuesday, February 8, 2022 11:53 AM
To: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Cc: Roland Mumford <roland@mumfordlaw.net>; Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Re: Andrews v. Tri Star Discovery


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Thanks Betsy. I trial set in the SD of AL, the Court kept moving deadlines around on us. Fortunately,
that matter has been resolved. So I will be turning my attention back to this case.

Will you be in office tomorrow and available for a call?




From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Tuesday, February 8, 2022 at 11:36 AM
To: Daniel Arciniegas <daniel@aVorneydaniel.com>
Cc: Roland Mumford <roland@mumfordlaw.net>, Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Andrews v. Tri Star Discovery

Daniel,

The .msg documents that were previously produced have been converted to PDFs. Those are attached with
new bates numbers.

We still have not received your client’s subsequent wage and income information that you indicated would be
produced by January 28. What is the status of that?

I have attached a revised proposed protective order that does not include a highly confidential designation
since, at this time, we do not plan to produce any documents that would fall into that category. By entering
into the attached protective order, Tri Star is not waiving its right to move for a new or amended protective
order that would include a highly confidential designation in the event it becomes necessary to produce
documents that should be designated at highly confidential and warrant greater protection. The proposed
order includes your requested changes that counsel can retain copies of all documents for a year after appeal
deadlines, and that the designating party is the one that should move for protection if there’s a dispute. Please
let me know if you can agree to this version of the protective order, with the understanding that Tri Star retains
its right to move for a new or amended order down the road if necessary, so that we can keep discovery
moving.

Please give me or Tara a call if you would like to discuss. Thanks.




Elizabeth “Betsy” Hart
321 Billingsly Ct., Suite 19

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